Case 2:10-md-02179-CJB-DPC Document 9087-5 Filed 04/02/13 Page 1 of 4
Case 2:10-md-02179-CJB-DPC Document 9087-5 Filed 04/02/13 Page 2 of 4
Case 2:10-md-02179-CJB-DPC Document 9087-5 Filed 04/02/13 Page 3 of 4
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WALL'S GATOR FARM, LLC

Landowner                           Permitted    Actual Collected    Egg Loss     Actual Hatch Rate Normal Hatch Rate   Deviation from normal Hatch Rate   Hatchling Loss   Mortality Rate   Loss Adjusted for Mortality   Returns at 12%   Saleable Gators (net of Returns)   Cost per Egg Cost to Raise per Gator    Sale Price per cm    Ave cm per Gator    Ave Sale Price per Gator    Total Loss per Landowner

Alliance River Properties LLC               70                               70                                   85%                 -85.00%                         60               5%                            57                7                                  49          $7.00                   $52.00                $7.00               27.00                     $189.00                    $5,823.27
Barbara Collura                             70                  55           15                76%                85%                  -9.00%                         18               5%                            17                2                                  15          $7.00                   $52.00                $7.00               27.00                     $189.00                    $1,732.30
Bertrand Foch & Frederick Schafer          105                  63           42                78%                85%                  -7.00%                         40               5%                            38                5                                  33          $7.00                   $52.00                $7.00               27.00                     $189.00                    $3,925.57
Borgnemouth Realty Co.                     385                              385                                   85%                 -85.00%                        327               5%                           311               39                                 272          $7.00                   $52.00                $7.00               27.00                     $189.00                   $32,027.96
Clyde Giordano                             140                  77           63                77%                85%                  -8.00%                         60               5%                            57                7                                  50          $7.00                   $52.00                $7.00               27.00                     $189.00                    $5,843.82
Delacroix                               25,000               7,686       17,314                67%                85%                 -18.00%                     16,100               5%                        15,295             1932                              13,363         $16.00                   $52.00                $7.00               27.00                     $189.00                $1,430,840.77
Dorothy Gonzales Molero                    280                              280                                   85%                 -85.00%                        238               5%                           226               29                                 198          $7.00                   $52.00                $7.00               27.00                     $189.00                   $23,293.06
Emile Meyers                                35                 19            16                74%                85%                 -11.00%                         16               5%                            15                2                                  13          $7.00                   $52.00                $7.00               27.00                     $189.00                    $1,535.58
Eustin Becnel/Hayes Thompson               105                 52            53                79%                85%                  -6.00%                         48               5%                            46                6                                  40          $7.00                   $52.00                $7.00               27.00                     $189.00                    $4,714.40
Foster Dartus/Anthony Palazzo               70                 44            26                80%                85%                  -5.00%                         24               5%                            23                3                                  20          $7.00                   $52.00                $7.00               27.00                     $189.00                    $2,378.24
Frank Priola                               175                 96            79                79%                85%                  -6.00%                         73               5%                            69                9                                  61          $7.00                   $52.00                $7.00               27.00                     $189.00                    $7,135.70
Gladys Ansardi                             105                101             4                75%                85%                 -10.00%                         14               5%                            13                2                                  11          $7.00                   $52.00                $7.00               27.00                     $189.00                    $1,321.25
Guy Collora                                105                              105                                   85%                 -85.00%                         89               5%                            85               11                                  74          $7.00                   $52.00                $7.00               27.00                     $189.00                    $8,734.90
Howard Hingle                              105                  90           15                77%                85%                  -8.00%                         20               5%                            19                2                                  17          $7.00                   $52.00                $7.00               27.00                     $189.00                    $1,952.51
James Martin                               105                  60           45                78%                85%                  -7.00%                         42               5%                            40                5                                  35          $7.00                   $52.00                $7.00               27.00                     $189.00                    $4,154.58
Jesse Camille LeBlance, III                105                  54           51                78%                85%                  -7.00%                         47               5%                            45                6                                  39          $7.00                   $52.00                $7.00               27.00                     $189.00                    $4,612.61
Ken Savastano Properties                   175                  99           76                77%                85%                  -8.00%                         73               5%                            69                9                                  60          $7.00                   $52.00                $7.00               27.00                     $189.00                    $7,097.53
Kenneth Savastano                          105                  65           40                78%                85%                  -7.00%                         39               5%                            37                5                                  32          $7.00                   $52.00                $7.00               27.00                     $189.00                    $3,772.89
Leonard Lauga                               70                  40           30                78%                85%                  -7.00%                         28               5%                            27                3                                  23          $7.00                   $52.00                $7.00               27.00                     $189.00                    $2,769.72
Livaudais Co, LLC                        1,120                            1,120                                   85%                 -85.00%                        952               5%                           904              114                                 790          $7.00                   $52.00                $7.00               27.00                     $189.00                   $93,172.24
Millard Ciaccio                             70                 52            18                79%                85%                  -6.00%                         18               5%                            17                2                                  15          $7.00                   $52.00                $7.00               27.00                     $189.00                    $1,802.77
Morgan City Land & Fur Co. LLC             910                542           368                77%                85%                  -8.00%                        356               5%                           338               43                                 296          $7.00                   $52.00                $7.00               27.00                     $189.00                   $34,857.38
O S Livaudais Estate                        70                               70                                   85%                 -85.00%                         60               5%                            57                7                                  49          $7.00                   $52.00                $7.00               27.00                     $189.00                    $5,823.27
Peter Moss et al (Big Mar)                 245                              245                                   85%                 -85.00%                        208               5%                           198               25                                 173          $7.00                   $52.00                $7.00               27.00                     $189.00                   $20,381.43
Planche-Bopp Properties                    525                              525                                   85%                 -85.00%                        446               5%                           424               54                                 370          $7.00                   $52.00                $7.00               27.00                     $189.00                   $43,674.49
Raymond Lambert                            105                  57           48                77%                85%                  -8.00%                         45               5%                            43                5                                  38          $7.00                   $52.00                $7.00               27.00                     $189.00                    $4,439.38
Robert Lobrano et al                       280                 146          134                78%                85%                  -7.00%                        124               5%                           118               15                                 103          $7.00                   $52.00                $7.00               27.00                     $189.00                   $12,147.62
SGH Marshland Properties                 4,600               1,378        3,222                78%                85%                  -7.00%                      2,835               5%                         2,693              340                               2,353          $7.00                   $52.00                $7.00               27.00                     $189.00                 $277,477.11
Shingle Point, LLC                          70                               70                                   85%                 -85.00%                         60               5%                            57                7                                  49          $7.00                   $52.00                $7.00               27.00                     $189.00                    $5,823.27
The Livaudais Co, LLC                      175                              175                                   85%                 -85.00%                        149               5%                           141               18                                 123          $7.00                   $52.00                $7.00               27.00                     $189.00                   $14,558.16

TOTAL                                   35,480             10,776        24,704                                                                                   22,609                                                                                                                                                                                                                                 $2,067,823.75




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